Exhibit F

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James G. Martin, Governor
William W. Cobey, Jr., Secretary

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State of North Carolina
Department of Environment, Health and Natural Resources
Winston-Salem Regional Office

Margaret Plemmons Foster
Regional Manager

DIVISION OF ENVIRONMENTAL, MANAGEMENT
GROUNDWATER SECTION

November 13, 1992

NOTICE OF VIOLATION OF SUBCHAPTER 2N
CRITERIA AND STANDARDS’ APPLICABLE TO
UNDERGROUND STORAGE TANKS

CERTIFIED MAIL NUMBER P~536 302 287
RETURN RECEIPT REQUESTED

L.W. Pritchett, Jr.

L.W. Pritchett, Jr., Ine.
1549 West Webb Avenue
Burlington, Nc 27215

SUBJECT: Faircloth Grocery, Route 6, Box 55-J, Burlington,
Alamance County, North Carolina
Incident Number 6160

Dear Mr. Pritchett:

On November 5, 1992, this office determined that an
underground Storage tank (UST) at the subject location is
not in compliance with North Carolina Administrative Code
(NCAC Title 15a Subchapter 2n "Criteria and Standards -.
Applicable to Underground Storage Tanks"). It is our
understanding that you and/or your firm are the
owner/operator of the uSsT System. If you feel that you are
not responsible for the following violations, please notify

- this office Within seven (7) working days.

The Violations are as follows:

8025 North Point Boulevard, Suite 100, Winston-Salem, NC. 27106-3203 Telephone 919-896-7007 © Fax 919-896-7005

An Equal Opportunity Affirmative Action Employer
Shoffner000012

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Failure to submit a Corrective Action Plan that
Provides adequate protection of human health and the

environment as outlined in 15A ncac 2N .0707 Within the

Failure to comply with any of the aforementioned
criteria and standards shall result in enforcement action
against you which may include: (1) a4 civil penalty
assessment of up to $10,000 for each day of Continuing
Violation (NC G.S. 143-215.6), (2) criminal penalty
Proceedings under Circumstance as outlined under G.S.
143-215.6B, (3) referral of your site to the Federal Trust

for any and all expenses incurred, (4) a request to the
Attorney General to institute an action for injunctive
relief and, (5) the issuance of a Special order.

It is your responsibility to comply with these criteria

and standards. Opies of 15A NCAC 2Nn are available at this
office. Should you have questions concerning the notice or

Sincerely,

anc Pregl

Larry D. Coble
Regional Supervisor

cc: Incident Management Unit
WSRO Files >
Alamance County Health Department
Alamance County Fire Marshall

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